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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

YASHICA ROBINSON, M.D., et al.,              )
                                             )
      Plaintiffs,                            )
                                             )
v.                                           ) CASE NO. 2:19-cv-365-MHT-JTA
                                             )
STEVEN MARSHALL, in his official             )
capacity as Alabama Attorney General,        )
                                             )
                                             )
      Defendant.                             )

            EMERGENCY MOTION TO DISSOLVE PRELIMINARY INJUNCTION

      The State of Alabama enacted the Alabama Human Life Protection Act (“the

Act”) in 2019 to protect unborn children from abortion. Plaintiffs sued Attorney

General Steve Marshall, claiming that the Act violates the Due Process Clause of the

Fourteenth Amendment. This Court agreed and entered a preliminary injunction

against the enforcement of the Act because it “contravenes clear Supreme Court

precedent.” Doc. 68 at 16.

      As of today, that premise no longer holds true. The precedent on which the

Court relied—including Roe v. Wade, 410 U.S. 113 (1973), and Planned Parenthood

of Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992)—has been overruled.

See Dobbs v. Jackson Women’s Health Organization, ___ S.Ct. ___, 2022 WL

2276808 (June 24, 2022). “The Constitution does not prohibit the citizens of each
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State from regulating or prohibiting abortion.” Dobbs, slip op. at 79. Attorney

General Steve Marshall thus moves the Court to dissolve the preliminary injunction.

      The Act makes it unlawful “for any person to intentionally perform or attempt

to perform an abortion” unless “an abortion is necessary in order to prevent a serious

health risk to the unborn child’s mother.” Ala. Code § 26-23H-4. Plaintiffs sought

to enjoin the Act’s enforcement on the ground that the Act “directly conflicts with

Roe and more than four decades of Supreme Court precedent affirming its central

holding.” Doc. 1 ¶4. They raised a single claim: “By prohibiting an individual from

making the ultimate decision whether to terminate a pregnancy prior to viability,

[the Act] violates the rights to liberty and privacy secured to Plaintiffs’ patients by

the Due Process Clause of the Fourteenth Amendment to the United States

Constitution.” Doc. 1 ¶66.

      Plaintiffs moved for a preliminary injunction. Docs. 50 & 51. Under Roe and

Casey, Plaintiffs were likely to succeed on the merits of their claim. Attorney

General Marshall responded that “until those decisions are overruled, Plaintiffs are

likely to prevail on their challenge to the Act as applied to abortions of pre-viability

children.” Doc. 64 at 5. He asserted that Roe and Casey were wrongly decided, but

that “[f]or now, though, this Court is bound by Roe and Casey, and these cases

require that Plaintiffs’ motion for a preliminary injunction be granted with respect

to the Act’s ban on pre-viability abortions.” Doc. 64 at 12.



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      The Court, bound by Supreme Court precedent, found that “plaintiffs have

shown a substantial likelihood of success on the merits of their claim.” Doc. 68 at

11. The Court therefore enjoined Attorney General Marshall from “enforcing [the

Act] as applied to pre-viability abortion.” Doc. 69 at 2.

      The precedent underpinning Plaintiffs’ claims and the preliminary injunction

no longer controls, as “Roe’s abuse of judicial authority” has come to an end. Dobbs,

slip op. at 6. The Supreme Court has reversed Roe and Casey and held that the

Constitution does not include a right to an abortion:

      We hold that Roe and Casey must be overruled. The Constitution makes
      no reference to abortion, and no such right is implicitly protected by
      any constitutional provision, including the one on which the defenders
      of Roe and Casey now chiefly rely—the Due Process Clause of the
      Fourteenth Amendment.

Id. at 5. That central holding extinguishes Plaintiffs’ claims, because their sole

challenge to the Act was that it allegedly “violates the rights to liberty and privacy

secured to Plaintiffs’ patients by the Due Process Clause of the Fourteenth

Amendment to the United States Constitution.” Doc. 1 ¶66.

      This Court has the authority and obligation to dissolve its injunction. A district

court has continuing jurisdiction over a preliminary injunction. Canal Auth. of State

of Fla. v. Callaway, 489 F.2d 567, 578 (5th Cir. 1974). “The power to modify or

dissolve injunctions springs from the court’s authority ‘to relieve inequities that arise

after the original order.’” Gooch v. Life Investors Ins. Co. of America, 672 F.3d 402,



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414 (6th Cir.2012) (quoting Credit Suisse First Bos. Corp. v. Grunwald, 400 F.3d

1119, 1124 (9th Cir.2005)). “Because injunctive relief is drafted in light of what the

court believes will be the future course of events, a court must never ignore

significant changes in the law or circumstances underlying an injunction lest the

decree be turned into an instrument of wrong.” Salazar v. Buono, 559 U.S. 700, 714-

15 (2010) (plurality op.) (cleaned up). Courts regularly dissolve preliminary

injunctions when changed circumstances undermine the basis for the interlocutory

relief. See, e.g., Ctr. for Individual Freedom, Inc. v. Tennant, 706 F.3d 270, 276–79

(4th Cir. 2013) (discussing dissolution of injunction in response to amendment of

challenged law). On a motion to dissolve a preliminary injunction, the movant must

show a change in circumstances that justifies the relief requested. Hodge v. Dep’t of

Hous. & Urban Dev., Hous. Div., Dade Cty., 862 F.2d 859, 861-62 (11th Cir. 1989).

      The change in circumstances that justifies relief is obvious: the foundation of

Plaintiffs’ claims, and this Court’s injunction, no longer exists. The Supreme Court

has now ruled that “the Constitutional does not confer a right to abortion. Roe and

Casey must be overruled, and the authority to regulate abortion must be returned to

the people and their elected representatives.” Dobbs, slip op. at 69. Plaintiffs are no

longer likely to succeed on the merits of their claim (indeed, their claim is now

foreclosed as a matter of law). And because they are no longer likely to succeed on

the merits of their claim, they are no longer entitled to preliminary injunctive relief,



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and the injunction must be lifted. See United States v. Jefferson Cty., 720 F.2d 1511,

1519 (11th Cir. 1983) (holding that where a plaintiff has not carried his burden as to

any one of the elements required for a preliminary injunction, it is unnecessary to

address the remaining elements).

      When the Court entered the preliminary injunction, precedent dictated that

result. It now dictates the opposite. As the Supreme Court now recognizes—and as

Attorney General Marshall has argued all along—the Constitution contains no right

to an abortion. Plaintiffs’ claims therefore fail on the merits. Attorney General

Marshall will soon file a dispositive motion seeking a judgment in his favor. For

now, the Court should immediately dissolve the injunction so that Alabama can

enforce the law its legislature passed more than three years ago.

      This is an emergency motion. As the Supreme Court acknowledged, “[i]t is

time to heed the Constitutional and return the issue of abortion to the people’s elected

representatives.” Dobbs, slip op. at 6. For years the State of Alabama has been

prevented from exercising its sovereign authority to protect human life based on a

mistaken understanding of the Constitution. Each day that passes with the injunction

in effect is a profound injury to the State and its people—and may literally mean life

or death for those children the Act was enacted to protect. Attorney General Marshall

thus requests the Court rule on this Motion by Wednesday, June 29, 2022, and will

assume that if the injunction is not lifted by such time that this motion is denied.



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                              Respectfully submitted,

                              Steve Marshall,
                               Attorney General

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                          CERTIFICATE OF SERVICE
      I hereby certify that on June 24, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record.

                                                    s/ Edmund G. LaCour Jr.
                                                    Counsel for Defendant




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